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 16
                            UNITED STATES DISTRICT COURT
 17
                          CENTRAL DISTRICT OF CALIFORNIA
 18
      MIGUEL RODRIGUEZ, on behalf of               CASE NO. 2:20-CV-04829-ODW-PLA
 19   himself and all others similarly situated,
                                                   DEFENDANTS’ REPLY IN
 20                        Plaintiff,              SUPPORT OF MOTION TO
 21          v.                                    DISMISS FIRST AMENDED
                                                   COMPLAINT
 22   JUST BRANDS USA, INC., JUST
      BRANDS, INC., and SSGI FINANCIAL             Date:      January 25, 2021
 23
      SERVICES, INC.,                              Time:      1:30 p.m.
 24                        Defendants.             Courtroom: 5D
 25                                                Judge:     Hon. Otis D. Wright II

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  1                 MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.    INTRODUCTION
  3         Plaintiff’s Opposition does not cure the critical weaknesses of the First
  4   Amended Complaint (“FAC”), each of which rests on pure issues of law. Tacitly
  5   recognizing this, Plaintiff’s Opposition largely seeks to distinguish Defendants’
  6   cases rather than actually refuting their legal arguments. But even this effort is
  7   unavailing, requiring dismissal of the FAC. It is axiomatic that demonstrating
  8   inadequate legal remedies is a prerequisite to equitable relief. That is not possible
  9   here—Plaintiff concedes his legal and equitable claims are based on the same
 10   underlying conduct, and his alleged monetary damages subsume any available
 11   equitable restitution. Plaintiff also lacks Article III and statutory standing to assert
 12   claims for the Products he did not purchase, or to seek injunctive relief. The
 13   material differences in product composition, and absence of “certainly impending”
 14   future harm, are dispositive. Plaintiff’s warranty, unjust enrichment, and fraud
 15   claims are also defective because the FAC does not specify the governing law, as it
 16   must. Finally, Plaintiff’s “shotgun pleading” improperly fails to specify the alleged
 17   conduct of each Defendant. For these reasons, Defendants request that their Motion
 18   to Dismiss be granted.
 19   II.   ARGUMENT
 20         A.     Plaintiff’s Claims for Equitable Restitution Fail as a Matter of Law
 21         The Motion demonstrated that courts “routinely” dismiss equitable claims and
 22   remedies on the pleadings where plaintiffs fail to plausibly allege there is no
 23   adequate remedy at law. (Mot. at 14-17.) Here, Plaintiff has adequate remedies at
 24   law. He does not dispute that his equitable claims (unjust enrichment, UCL, and
 25   FAL claims) are based on the same underlying conduct as his legal claims—i.e., the
 26   sale of mislabeled and under-dosed CBD Products. He also seeks compensatory
 27   damages under his CLRA, common law fraud, and warranty claims in an amount
 28   greater than or equal to any equitable restitution available under the UCL, FAL and
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  1   for unjust enrichment. (E.g., FAC ¶¶ 39, 54.) Thus, as many courts have held, legal
  2   remedies are by definition adequate.
  3         In response, Plaintiff contends that “California courts have rejected nearly
  4   identical arguments made by defendants in class actions, and there is a no reason for
  5   a different outcome here.” (Opp. at 17.) Not so. It is Plaintiff who asks the Court
  6   to ignore Ninth Circuit authorities and California law. The Court should not depart
  7   from these well-reasoned decisions, which rejected each of Plaintiff’s arguments.
  8                1.     The Inadequate Remedy at Law Requirement Applies in
  9                       Federal Diversity Actions
 10         Plaintiff effectively asks the Court to overlook Sonner v. Premier Nutrition
 11   Corp., 971 F.3d 834, 843-44 (9th Cir. 2020), the Ninth Circuit’s most recent and
 12   authoritative treatment of the claims advanced here, which held the “traditional
 13   principles governing equitable remedies in federal courts, including the requisite
 14   inadequacy of legal remedies, apply when a party requests restitution under the
 15   UCL, [FAL, CLRA, or for unjust enrichment] in a diversity action.” This is not new
 16   or novel law. Before Sonner, the Ninth Circuit affirmed dismissals at the pleading
 17   stage for failure to allege inadequate legal remedies. See, e.g., Philips v. Ford Motor
 18   Co., 726 F. App'x 608, 609 (9th Cir. 2018) (“Appellants were required to plead the
 19   inadequacy of their legal remedies to state a claim for injunctive relief”). This
 20   fundamental requirement applies to Plaintiff’s claims too.
 21         Citing Sonner, district courts have recently dismissed UCL, FAL, and unjust
 22   enrichment claims on the pleadings because “there is nothing in the [Complaint] to
 23   suggest that monetary damages would not make Plaintiff or the putative class
 24   whole.” Gibson v. Jaguar Land Rover N. Am., LLC, 2020 WL 5492990, at *3 (C.D.
 25   Cal. Sept. 9, 2020) (Carney, J.) (“courts generally require plaintiffs seeking equitable
 26   relief to allege some facts suggesting that damages are insufficient to make them
 27   whole . . . the Ninth Circuit has very recently made clear that this principle applies to
 28   claims for equitable relief under both the UCL and CLRA”). Indeed, “Sonner,
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  1   which was also decided on a motion to dismiss, is binding authority.” Zaback v.
  2   Kellogg Sales Co., 2020 WL 6381987, at *4 (S.D. Cal. Oct. 29, 2020) (emphasis
  3   added).1 Plaintiff’s attempt to couch Sonner as “easily distinguishable” fails badly.
  4          First, Plaintiff superficially concludes that, “unlike here, ‘the operative
  5   complaint [did] not allege that Sonner lacks an adequate legal remedy,’ and the
  6   plaintiff conceded there was no difference between her legal and equitable
  7   remedies.” (Opp. at 20.) But this is no distinction. Here, like Sonner, the FAC
  8   pleads legal claims for money damages based on the same predicate facts as the
  9   equitable claims for restitution and injunctive relief.2 Additionally, Sonner did not
 10   turn on the plaintiff’s abandonment of her legal claims on the brink of trial.
 11   “Plaintiff’s attempts to limit Sonner to its procedural posture—i.e., when a litigant
 12   makes a strategic eleventh-hour decision immediately before trial to drop a legal
 13   claim to guarantee a bench trial—is unpersuasive.” IntegrityMessageBoards.com v.
 14   Facebook, Inc., 2020 WL 6544411, at *5 (N.D. Cal. Nov. 6, 2020).
 15          Rather, Sonner turned on the allegations in the complaint—which made clear
 16   that money damages were adequate where, as here, equitable restitution is also
 17   sought based on the same underlying allegations. “It matters not that a plaintiff may
 18   have no remedy if her other claims fail.” Munning v. Gap, Inc., 238 F. Supp. 3d
 19   1195, 1203-04 n.7 (N.D. Cal. 2017). Plaintiff’s UCL and FAL claims, for example,
 20
 21
      1
        Numerous recent decisions are in accord. Hanna v. Walmart Inc., 2020 WL 7345680, at *6
 22   (C.D. Cal. Nov. 4, 2020) (Scarsi, J.) (dismissing UCL claim for equitable restitution and injunctive
      relief “on the ground that Hanna has not pled facts to show she has no adequate remedy at law.”);
 23   Teresa Adams v. Cole Haan, LLC, 2020 WL 5648605, at *2 (C.D. Cal. Sept. 3, 2020) (Selna, J.)
 24   (“Adams seeks to distinguish Sonner by arguing that its ruling is largely a function of its abnormal
      procedural history. . . . The Court is not persuaded.”); Hassell v. Uber Techs., Inc., 2020 WL
 25   7173218, at *8 (N.D. Cal. Dec. 7, 2020) (Hamilton, J.) (same).
      2
 26     “Restitution” is available under the CLRA. Cal. Civ. Code § 1780(a)(3). And it is axiomatic
      that money damages under the CLRA are greater than or equal to restitutionary disgorgement
 27   under the UCL, FAL, and for unjust enrichment in mislabeling cases. Lucas v. Breg, Inc., 212 F.
      Supp. 3d 950, 964 (S.D. Cal. 2016) (“Restitution is available for claims brought under the UCL,
 28   FAL, and CLRA”).
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   1   each “incorporates by reference the allegations” constituting the CLRA and fraud
   2   claims, which are nearly identical. (FAC ¶¶ 65, 73.) Plaintiff’s UCL “unlawful”
   3   claim is predicated on “violating the CLRA . . . [and] the FAL as described herein.”
   4   (Id. ¶ 68.) Thus, “plaintiff cannot seek restitution under the UCL because she has an
   5   adequate remedy at law . . . for damages under the CLRA.” Bird v. First Alert, 2014
   6   WL 7248734, at *6 (N.D. Cal. Dec. 19, 2014).
   7          Second, according to Plaintiff, “Judge Seeborg issued the lower court
   8   decision in Sonner and since then he has twice distinguished his own decision in that
   9   case when rejecting the same argument Defendants advance here.” (Opp. at 20-21
 10    (citing Bland v. Sequel Nat. Ltd., 2019 WL 4674337, at *2-3 (N.D. Cal. Aug. 2,
 11    2019) and Marshall v. Danone US, Inc., 402 F. Supp. 3d 831, 834 n.1 (N.D. Cal.
 12    Sept. 13, 2019)).) Plaintiff is far off base. In Bland, Judge Seeborg dismissed all
 13    claims for equitable restitution with leave to amend, stating “Defendant is correct
 14    that Bland must plead facts tending to show damages are inadequate if he wishes to
 15    seek restitution.” 2019 WL 4674337, at *3. In Marshall, Judge Seeborg reached the
 16    opposite outcome with little analysis. 402 F. Supp. 3d at 834 (noting case law “is
 17    divided as to the propriety of dismissing equitable claims at the pleading stage”).
 18          Critically, however, Bland and Marshall were issued well before the Ninth
 19    Circuit’s precedential Sonner decision. And Sonner was grounded on a controlling
 20    federal principle that the district court did not address:
 21          At bottom, “[t]hat a State may authorize its courts to give equitable relief
             unhampered by” the “restriction” that an adequate remedy at law be
 22
             unavailable “cannot remove that fetter from the federal courts.” York, 326
 23          U.S. at 105–06, 65 S.Ct. 1464. Guided by that instruction, we hold that the
             traditional principles governing equitable remedies in federal courts,
 24
             including the requisite inadequacy of legal remedies, apply when a party
 25          requests restitution under the UCL and CLRA in a diversity action. . . .
             Accordingly, because Sonner fails to establish that she lacks an adequate
 26
             remedy at law, we hold, albeit on alternative grounds, that the district court
 27          did not err in dismissing Sonner's claims . . . under the UCL and CLRA.
 28    Sonner, 971 F.3d at 843-44 (emphasis added). As such, Judge Seeborg’s decisions
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   1   before the Ninth Circuit’s guidance in Sonner now lack persuasive value.
   2                 2.     Plaintiff’s Remaining Arguments Should Be Rejected
   3          Citing a footnote in Moore v. Mars Petcare US, Inc., 966 F.3d 1007, 1021
   4   n.13 (9th Cir. 2020), Plaintiff insists “the inadequate remedy at law requirement
   5   does not apply” and is “foreclosed by statute” because the UCL and CLRA
   6   “explicitly provide that remedies under each act are cumulative to each other.”
   7   (Opp. at 17.) Federal common law principles in Sonner foreclose this argument.
   8   Also, Moore never addressed the inadequate remedy at law requirement imposed by
   9   federal common law, and the footnote is dictum. 966 F.3d at 1021 n.13.
 10           It is therefore no surprise that, citing Sonner, courts have rejected Plaintiff’s
 11    reading of Moore. As explained in IntegrityMessageBoards.com, 2020 WL
 12    6544411, at *3-5: (1) “the Moore footnote is dictum” and “non-binding”; (2) “the
 13    Moore footnote addresses only the scope of remedies available under California
 14    state law”3 and “is silent on the federal common law rules underlying the availability
 15    of equitable relief”; and (3) “Sonner rested its decision on longstanding Supreme
 16    Court authority unequivocally requiring the absence of a ‘plain, adequate, and
 17    complete remedy at law’ to obtain equitable relief. Guaranty Trust Co. of New York
 18    v. York, 326 U.S. 99, 105 (1945). The cumulative nature of any state law remedy
 19    may not alter this requirement. . . . Thus, to the extent the majority’s reasoning
 20    in Moore is inconsistent with York, York controls.”
 21           Lastly, Plaintiff’s request to plead “alternative or hypothetical claims and
 22    demands for relief” under Rule 8 should be swiftly rejected. (Opp. at 19.) There is
 23    no entitlement to plead equitable “alternative remedies” where an overlapping legal
 24    claim is alleged. A “party does not avoid federal equitable principles merely
 25    because the equitable claim is pled in the alternative.” Drake v. Toyota Motor
 26
       3
 27      Even under California state law, equitable remedies under the UCL and CLRA “are ‘subject to
       fundamental equitable principles, including inadequacy of the legal remedy.’” Philips, 726 F.
 28    App'x at 609 (quoting Prudential Home Mortgage Co. v. Sup. Ct., 66 Cal. App. 4th 1236 (1998)).
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   1   Corp., 2020 WL 7040125, at *13–14 (C.D. Cal. Nov. 23, 2020) (Blumenfeld, J.).
   2   “Courts routinely dismiss UCL claims at the pleading stage on account of the
   3   plaintiff’s failure to plead facts demonstrating an entitlement to equitable relief. . . .
   4   This is true even where a plaintiff attempts to plead equitable relief in the
   5   alternative, as [plaintiff] purports to do here.” Duttweiler v. Triumph Motorcycles,
   6   2015 WL 4941780, at *9 (N.D. Cal. Aug. 19, 2015) (emphasis added). And
   7   contrary to Plaintiff’s assertions (Opp. at 19), “the Moyle panel made no reference to
   8   the binding precedent in York and plaintiff failed to explain why Rule 8’s general
   9   permission for alternative pleading limits otherwise applicable principles of federal
 10    common law.” IntegrityMessageBoards.com, 2020 WL 6544411, at *5.
 11          In sum, the requirement to plead an inadequate remedy at law applies here,
 12    and Plaintiff’s unjust enrichment, UCL, and FAL claims must be dismissed because
 13    they only allow for equitable relief. Plaintiff’s CLRA claim must also be dismissed
 14    to the extent equitable restitution is demanded.
 15          B.     Plaintiff Lacks Article III Standing to Assert Claims for Products
 16                 He Did Not Buy
 17          Courts frequently find no standing where, as here, a plaintiff makes claims
 18    regarding products he did not purchase. See, e.g., Granfield v. NVIDIA Corp., 2012
 19    WL 2847575, at *6 (N.D. Cal. July 11, 2012) (“when a plaintiff asserts claims based
 20    both on products that she purchased and products that she did not purchase, claims
 21    relating to products not purchased must be dismissed for lack of standing”); Dysthe
 22    v. Basic Research, 2011 WL 5868307, *4 (C.D. Cal. Jun. 13, 2011) (same); Snyder
 23    v. Green Roads of Fla. LLC, 2020 WL 42239, at *3 (S.D. Fla. Jan. 3, 2020) (no
 24    standing for unpurchased CBD products). While district courts diverge regarding
 25    the applicable standard, the better rule is that plaintiffs only have Article III standing
 26    to assert claims based on products actually purchased. Under established Supreme
 27    Court authority, Plaintiff must “show that he personally has suffered some actual or
 28    threatened injury as a result of the putatively illegal conduct of the defendant.”
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   1   Valley Forge Christ. Coll. v. Am. United for Sep. of Church & State, 454 U.S. 464,
   2   472 (1982) (emphasis added); DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 335
   3   (2006) (“plaintiff must demonstrate standing for each claim he seeks to press”).
   4         Plaintiff’s efforts to distinguish Defendants’ cases on this point are unavailing.
   5   Even under a “substantially similar” analysis, Plaintiff still lacks standing. Plaintiff
   6   only alleges that he purchased four products—two flavors of cartridges, 1000mg
   7   gummies, and dog treats—yet seeks to pursue putative class claims covering over
   8   fifty vastly different products, including dried fruits, oils, honey sticks, isolate
   9   powders, and tinctures, all in different flavors, formats, and concentrations (the
 10    “Non-Purchased Products”). (FAC ¶¶ 5, 17A-17E.) The makeup of ingredients and
 11    labeling differ across the purchased and Non-Purchased Products. Indeed, the FAC
 12    admits the Products are sold in 13 different concentrations, while Plaintiff only
 13    purchased four Products in three concentrations, all with the concentrations shown
 14    on the labels. These differences in CBD concentrations and Product form are not
 15    “substantially similar.” See In re 5-hour Energy Mktg. & Sales Practices Litig.,
 16    2017 WL 385042 (C.D. Cal. Jan. 24, 2017) (Gutierrez, J.) (finding two products
 17    distinct for standing purposes, even though they had “identical” alleged
 18    misstatements, where one contained 6mg of caffeine and the other 200mg).
 19          Lacking the ability to show the Products are actually substantially similar,
 20    Plaintiff resorts to meritless distinctions of In re 5-hour Energy. According to
 21    Plaintiff, In re 5-hour Energy concerned “efficacy claims” rendering the “product
 22    composition” material, unlike the “underfilled” claims here. (Opp. at 5-6.) That is,
 23    “product efficacy is less important here, and this Court will not face the same
 24    evidentiary issues at trial.” (Id.) This argument is hollow and illogical. The
 25    material differences in caffeine concentrations in In re 5-hour Energy (6mg versus
 26    200mg) are analogous to the alleged material differences in CBD levels here.
 27          Equally clear, product composition and “efficacy” are at the center of this
 28    case—i.e., whether each of the fifty Products, in different concentrations and forms,
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   1   misrepresents the CBD content therein. At trial, Plaintiff must demonstrate that each
   2   of the fifty Products are systemically under-dosed in terms of CBD concentration.
   3   This requires separate evidence for each Product concentration (ranging from 25mg
   4   CBD to 3,000mg CBD, FAC ¶ 2 n.2) and each Product form (ranging from gummies
   5   to oils to powders, FAC ¶¶ 5, 17) as to the degree of under-dosage, if any.
   6          Lest there be any doubt, Plaintiff all but concedes this point by alleging that:
   7   “some of Defendants’ Products contain no CBD whatsoever,” while others “contain
   8   only a fraction of the CBD advertised.” (Opp. at 6) (emphasis in original). Thus,
   9   differences in Product concentration and form are critical, and Plaintiff lacks
 10    standing to challenge the Non-Purchased products. Jackson v. Gen. Mills, Inc., 2019
 11    WL 4599845, at *4 (S.D. Cal. Sept. 23, 2019) (plaintiff “lacks standing to sue on
 12    behalf of purchasers of different kinds of cereal . . . [a] key issue in this case is the
 13    degree to which slack-fill results from unavoidable settling of the cereal which
 14    obviously will vary depending on the type, shape, and texture of the cereal….”)
 15    (emphasis added); id. at *4 n.3 (“The FAC alleges that while the cereal she bought
 16    settled to 50% slack-fill, two other varieties . . . settle to 30% slack-fill.”).4
 17           C.     Plaintiff Lacks Article III Standing to Pursue Injunctive Relief
 18           Under Article III of the U.S. Constitution, “[a] plaintiff must demonstrate
 19    constitutional standing separately for each form of relief requested.” Davidson v.
 20    Kimberly-Clark Corp., 889 F.3d 956, 967 (9th Cir. 2018). “For injunctive relief,
 21    which is a prospective remedy, the threat of injury must be ‘actual and imminent,
 22    not conjectural or hypothetical.’” Id. “In other words, the ‘threatened injury must
 23    be certainly impending to constitute injury in fact’ and ‘allegations of possible
 24    future injury are not sufficient.’” Id. (emphasis added). Facts supporting such
 25
       4
 26     Even Plaintiff’s cases required more similarity. (Opp. at 4.) In Dabish v. Brand New Energy,
       LLC, 2016 WL 7048319 (S.D. Cal. Dec. 5, 2016), the products were uniformly “misbranded . . . as
 27    dietary supplements when they were not.” Id., at *3. Product efficacy and concentrations were
       immaterial. In Brown v. Hain Celestial Grp., Inc., 913 F. Supp. 2d 881 (N.D. Cal. 2012),
 28    plaintiffs plausibly alleged standing due to “identical” representations of “organic.” Id. at 892.
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   1   allegations are notably absent here.
   2          While some previously deceived consumers may have standing for injunctive
   3   relief in other circumstances, Plaintiff misapplies the standard under Davidson. In
   4   Davidson, the Ninth Circuit held that, while it was a “close question,” a previously
   5   deceived consumer had standing to seek an injunction against false advertising of
   6   wipes as “flushable” based on “plausible” allegations that she “continues to desire to
   7   purchase wipes that are suitable for disposal in a household toilet”; “would purchase
   8   truly flushable wipes . . . if it were possible”; “regularly visits stores . . . where
   9   [Kimberly-Clark’s] ‘flushable’ wipes are sold”; and is “continually presented with
 10    Kimberly-Clark’s flushable wipes packaging but has no way of determining whether
 11    the representation ‘flushable’ is in fact true.” Id. at 971. In addition, the complaint
 12    was “devoid of any grounds to discount [Davidson’s] stated intent to purchase [the
 13    wipes] in the future.” Id. Such plausible allegations may establish “actual and
 14    imminent, not conjectural or hypothetical threat of harm.” Id.
 15           Here, by contrast, Plaintiff simply alleges that he “may purchase the CBD
 16    Products in the future . . . but incorrectly, assume the product was improved.” (Opp.
 17    at 8.) There are no allegations, like in Davidson, that Plaintiff repeatedly encounters
 18    the Products in stores, or that he repeatedly visits the justcbdstore.com website.
 19    Also, there are no allegations of when Plaintiff “may” make such a future purchase.
 20    That is unsurprising because Plaintiff admits he ceased purchasing the Products—
 21    his most recent purchase occurred on March 17, 2019, twenty-two months ago.
 22    (FAC ¶ 5.) Thus, his “some day intention – without any description of concrete
 23    plans, or indeed even any specification of when the some day will be – does not
 24    support a finding of the actual or imminent injury that Article III requires.” Lujan v.
 25    Defs. Of Wildlife, 504 U.S. 555, 564 (1992) (emphasis added).
 26           Courts have cautioned that “Davidson’s conclusion is narrower than a blanket
 27    conclusion that plaintiffs seeking injunctive relief in mislabeling class actions
 28    always have standing.” Anthony v. Pharmavite, 2019 WL 109446, at *5 (N.D. Cal.
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   1   Jan. 4, 2019). Since Davidson, district courts have repeatedly rejected allegations
   2   just like Plaintiff’s based on the Davidson standard. As explained in Tabler v.
   3   Panera LLC, 2019 WL 5579529, at *8 (N.D. Cal. Oct. 29, 2019), standing is lacking
   4   where “Plaintiff alleges only the possibility of future injury arising from the fact that
   5   Plaintiff ‘may purchase the Products in the future.’” (emphasis added). Such
   6   allegations fall short of the “certainly impending” threshold. Id.; accord Hanna v.
   7   Walmart Inc., No. 520CV01075MCSSHK, 2020 WL 7345680, at *7 (C.D. Cal.
   8   Nov. 4, 2020) (“a plaintiff's allegation that he or she may purchase a product again
   9   is insufficient for purposes of establishing standing”); Schertzer v. Samsonite Co.
 10    Stores, LLC, 2020 WL 4281990, at *11 (S.D. Cal. Feb. 25, 2020) (same); Plaintiff’s
 11    injunctive relief claim thus fails and must be dismissed.5
 12           D.      Plaintiff’s Express Warranty, Unjust Enrichment, and Fraud
 13                   Claims Are Defective
 14           Plaintiff does not dispute that the FAC fails to specify the applicable state’s
 15    law for the express warranty, unjust enrichment, and fraud claims. (FAC ¶¶ 34-40,
 16    47-55.) This failure to allege which state law governs a claim is “grounds for
 17    dismissal.” Romero v. Flowers Bakeries, LLC, 2016 WL 469370, at *12 (N.D. Cal.
 18    Feb. 8, 2016). Of note, courts have dismissed warranty and unjust enrichment
 19    claims—brought by Plaintiff’s counsel here—for this reason. Yothers v. JFC Int'l,
 20    Inc., 2020 WL 5015262, at *5 (N.D. Cal. May 14, 2020) (“As plaintiffs do not state
 21    under which state’s law this claim is brought, that reason alone warrants dismissal”).
 22           Instead of addressing this issue, Plaintiff misdirects with a different argument
 23    —that “Defendants ask the Court to engage in a choice of law analysis that is not
 24    appropriate at this stage of the litigation.” (Opp. at 15.) Defendants have done no
 25
 26    5
         Plaintiff urges that dismissing injunctive relief claims “would surely thwart the objective of
 27    California’s consumer protection laws.” (Opp. at 7.) But that has no bearing on whether
       injunctive relief is available in a federal forum. “[A] state statute does not change the nature of the
 28    federal courts’ equitable powers.” Sonner, 971 F.3d at 841.
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   1   such thing—the argument for dismissal concerns Plaintiff’s individual standing.
   2   PetSmart, Inc., 441 F. Supp. 3d at 1039 (defendant “is correct that this is not a
   3   choice-of-law issue” and “what Plaintiff is attempting to do here is assert fifty fraud
   4   by omission claims” without standing). As explained in the Motion, the FAC is
   5   silent on the applicable law. As such, Defendants must assume Plaintiff is alleging
   6   50 separate claims under the laws of each state to support his “nationwide class,” for
   7   which he lacks standing. “[T]he majority of courts . . . have concluded that when ‘a
   8   representative plaintiff is lacking for a particular state, all claims based on that
   9   state’s laws are subject to dismissal.’” Mollicone v. Universal Handicraft, Inc., 2017
 10    WL 440257, at *9 (C.D. Cal. Jan. 30, 2017). “Courts routinely dismiss claims
 11    where no plaintiff is alleged to reside in a state whose laws the class seeks to
 12    enforce.” Id. (citations omitted). So too here.
 13          E.     Plaintiff’s Shotgun Pleading Does Not Satisfy Federal Standards
 14          Plaintiff wholly failed to show a specific, particularized basis for holding each
 15    Defendant liable. Instead, Plaintiff asserts he may use group pleading “in the
 16    context of an umbrella of companies, like here, that is divided into separate business
 17    sectors.” (Opp. at 9.) Putting aside the fact that Plaintiff has not alleged any facts to
 18    support this new Opposition argument, courts reject such attempts at conclusory
 19    “group pleading.” Horton v. NeoStrata Co., 2017 WL 932178 (S.D. Cal. Mar. 08,
 20    2017) (plaintiff “may not group” defendants together “without distinguishing
 21    between the allegedly unlawful conduct of each”). Plaintiff alleges without any
 22    factual support that each of the Defendants “manufactures, sells, and/or globally
 23    distributes JustCBD-branded products, and is responsible for the advertising,
 24    marketing, and packaging.” (FAC ¶¶ 7-9.) He then falsely assumes without any
 25    supporting facts that, “[b]ased on information and belief, SSGI dominates and
 26    controls all aspects of Defendants’ operations” and “Defendants acted in concert
 27    with . . . the other Defendants.” (FAC ¶ 10.)
 28          Such formulaic assertions are insufficient. See Bland v. Sequel Nat. Ltd.,
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   1   2019 WL 4658361, at *5 (N.D. Cal. Jan. 18, 2019) (“Bland’s bare assertion that
   2   WhiteWave took part in the marketing and labeling of its subsidiary’s products,
   3   without more, is insufficient to establish liability with respect to WhiteWave.”);
   4   Azco Biotech, Inc. v. Qiagen, 2013 WL 4500782 (S.D. Cal. Aug. 20, 2013)
   5   (rejecting “threadbare” assertions that “that each defendant was the agent of every
   6   other defendant”).6
   7   III.    CONCLUSION7
   8           For these reasons, Defendants respectfully request that the FAC be dismissed.
   9       Dated: January 11, 2020 DLA PIPER LLP (US)
 10
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        In re Trader Joe's Tuna Litig., 289 F. Supp. 3d 1074, 1091 (C.D. Cal. 2017) (Wright, J.), cited
       by Plaintiff, is not on point. (Opp. at 12.) At issue was the sufficiency of misrepresentations
 24    under Rule 9(b), not group pleading. Id.
 25    7
         Defendants submit that the Court lacks personal jurisdiction over non-California putative class
       members under Bristol-Myers Squibb Co. v. Superior Court, 137 S. Ct. 1773 (2017), and preserve
 26    the argument here. (Mot. at 11-13.) Defendants recognize that the Court disagreed in Ochoa v.
       Church & Dwight Co., 2018 WL 4998293 (C.D. Cal. Jan. 30, 2018) (Wright, J.). More recent
 27    district court decisions have also gone the other way. See e.g. Carpenter v. PetSmart, Inc., 2020
 28    WL 996947 (S.D. Cal. Mar. 2, 2020).
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